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From:            Enslin, Sharda
To:              Kira Kelley
Cc:              Claire Glenn; Robertson, Heather (she/her/hers); Sarff, Kristin
Subject:         RE: [EXTERNAL] Re: Draft protective order
Date:            Wednesday, July 31, 2024 9:30:00 AM


Hi Kira,

I do think that having an AEO provision in the protective order actually gives us the ability to cross
that bridge when we get there as you suggested. If the City were to produce information AEO, you
would have the ability to challenge that designation if you did not think it was appropriate. Candidly,
the City always includes an AEO provision in its draft protective order - and can’t remember a time
when it such an order wasn’t granted - so this would be a sticking point for us that we may just need
to take to the judge. Let me know if you think it would be helpful to discuss, and maybe I can do a
better job of explaining it. I’m available this afternoon between 1:00-3:00, tomorrow afternoon
between 2:00-5:00, or Friday between 8:00 -10:00, or 2:00-3:00.

As far as a 30(b)(6) depo/representative, why don’t you go ahead serve us with a notice and list of
topics. You can leave the date tbd. Without a topics list, it’s pretty hard for me to determine how we
would respond to it, who we might designate, and when they would be available.

If you want to put a stip together extending those deadlines you set out below, that’s fine with me.

Thanks!
Sharda




                                                                                                     Exhibit C
